            Case 1:20-cv-02668-SAG Document 14 Filed 11/20/20 Page 1 of 3



                             IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND


SAIM SARWAR,                                 *

                Plaintiffs                   *         Case No: 1:20-cv-2668-SAG

       v.                                    *

LAVALE HOSPITALITY, LLC                      *

            Defendant               *
____________________________________*

                ANSWER OF LAVALE HOSPILITY, LLC TO COMPLAINT

            Lavale Hospitality, LLC, Defendant by Peter A. Prevas, its attorney in answer to the

Complaint filed against it states:

       1. Defendant is without sufficient knowledge to admit or deny the allegations contained in

paragraph 1 of the Complaint and therefore denies the allegations.

       2. Defendant is without sufficient knowledge to admit or deny the allegations contained in

paragraph 1 of the Complaint and therefore denies the allegations.

       3. Defendant admits the allegations contained in paragraph 3 of the Complaint.

       4. Defendant admits the allegations contained in paragraph 4 of the Complaint.

       5. Defendant admits the allegations contained in paragraph 5 of the Complaint.

       6. Defendant admits the allegations contained in paragraph 6 of the Complaint.

       7. Defendant admits the allegations contained in paragraph 7 of the Complaint.

       8. Defendant admits the allegations contained in paragraph 8 of the Complaint.

       9. Defendant denies the allegations contained in paragraph 9 of the Complaint.



                                                 -1-
          Case 1:20-cv-02668-SAG Document 14 Filed 11/20/20 Page 2 of 3



       10. Defendant is without sufficient knowledge to admit or deny the allegations contained

in paragraph 10 of the Complaint and therefore denies the allegations.

       11. Defendant is without sufficient knowledge to admit or deny the allegations contained

in paragraph 11 of the Complaint and therefore denies the allegations.

       12. Defendant is without sufficient knowledge to admit or deny the allegations contained

in paragraph 12 of the Complaint and therefore denies the allegations.

       13. Defendant denies the allegations contained in paragraph 13 of the Complaint.

       14. Defendant denies the allegations contained in paragraph 14 of the Complaint.

       15. Defendant denies the allegations contained in paragraph 15 of the Complaint.

       16. Defendant denies the allegations contained in paragraph 16 of the Complaint.

       17. Defendant denies the allegations contained in paragraph 17 of the Complaint.

       18. Defendant denies the allegations contained in paragraph 18 of the Complaint.

       19. Defendant denies the allegations contained in paragraph 19 of the Complaint.

       20. Defendant denies the allegations contained in paragraph 20 of the Complaint.

                                FIRST AFFIRMATIVE DEFENSE

       21. That the Complaint fails to state a claim upon which relief can be granted in that the

Plaintiff has no intention of visiting Defendant’s premises, the Complaint raises a hypothetical issue

and not an actual case or controversy. Additionally, the Complaint fails to state a claim for

mandatory injunctive relief against this Defendant since it has no power or control to modify third

parties’ websites.

                              SECOND AFFIRMATIVE DEFENSE

       22. The Complaint is barred by the applicable statute(s) of limitations.


                                                 -2-
            Case 1:20-cv-02668-SAG Document 14 Filed 11/20/20 Page 3 of 3



                                     FIRST NEGATIVE DEFENSE

          23. That the Plaintiff fails to join all necessary parties required to adjudicate all claims and

relief.

          WHEREFORE, Defendant, requests that the Complaint be dismissed with costs assessed to

the Plaintiff.



                                                                  /s/ PETER A. PREVAS
                                                                  Bar No: 11564
                                                                  Prevas and Prevas
                                                                  American Building, Suite 702
                                                                  231 East Baltimore Street
                                                                  Baltimore, MD 21202
                                                                  410-752-234-ph
                                                                  410-332-0474-fax
                                                                  prevasandprevas@verizon.net
                                                                  Attorney for Defendant

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 20th day of November, 2020, I mailed, first class postage

prepaid and/or emailed a copy of the foregoing Answer to Complaint to Tristan W. Gillespie,

Esquire and Thomas B. Bacon, P.A., 5150 Cottage Farm Road, Johns Creek, GA 30022, Attorney

for Plaintiff.



                                                                  /s/   PETER A. PREVAS




                                                    -3-
